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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

LEVI STRAUSS & CO.,
                                                     Case No. 18-cv-07459
                       Plaintiff,
                                                     Judge Charles R. Norgle
       v.
                                                     Magistrate Judge Maria Valdez
SHENZHEN BARFLIN INVESTMENT CO.,
LTD., et al.,

                       Defendants.


                    NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Levi Strauss

& Co. (“LS&Co.”), hereby dismisses this action with prejudice against the following Defendant:

              Defendant Name                                      Line No.
              GIDFIIFAN Store                                        25


Dated this 30th day of May 2019.                   Respectfully submitted,

                                                   /s/ Justin R. Gaudio
                                                   Amy C. Ziegler
                                                   Justin R. Gaudio
                                                   RiKaleigh C. Johnson
                                                   Greer, Burns & Crain, Ltd.
                                                   300 South Wacker Drive, Suite 2500
                                                   Chicago, Illinois 60606
                                                   312.360.0080 / 312.360.9315 (facsimile)
                                                   aziegler@gbc.law
                                                   jgaudio@gbc.law
                                                   rjohnson@gbc.law


                                                   Counsel for Plaintiff Levi Strauss & Co.
